UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
________________________________
TIMOTHY M. BETLEWICZ,

                       Plaintiff,                   1:12-cv-1158
                                                    (GLS/RFT)
                 v.

THE DIVISION OF NEW YORK
STATE POLICE et al.,

                  Defendants.
________________________________
APPEARANCES:                     OF COUNSEL:

FOR THE PLAINTIFF:
Office of Martin W. Schwartz             MARTIN W. SCHWARTZ, ESQ.
119 Rockland Center, Suite 134
Nanuet, NY 10954

FOR THE DEFENDANTS:
HON. ERIC T. SCHNEIDERMAN                WILLIAM J. MCCARTHY, JR.
New York State Attorney General          C. HARRIS DAGUE
The Capitol                              Assistant Attorneys General
Albany, NY 12224

Gary L. Sharpe
Chief Judge

                 MEMORANDUM-DECISION AND ORDER

                              I. Introduction

     Plaintiff Timothy M. Betlewicz commenced this action against the

Division of New York State Police (“State Police”), former Acting
Superintendent John P. Melville, and Superintendent Joseph D’Amico

(collectively, “State defendants”), alleging violations of the Equal Protection

and Due Process Clauses, as well as the Equal Pay Act.1 (See Compl.,

Dkt. No. 1.) After the case, which was originally filed in the Southern

District of New York, was transferred to this court, State defendants

brought the presently-pending motion for judgment on the pleadings

pursuant to Fed. R. Civ. P. 12(c). (See Compl.; Dkt. Nos. 17, 18, 28.) For

the reasons that follow, the motion is granted in part and denied in part.

                               II. Background

A.    Facts2

      On January 10, 2010, while on patrol as a New York State Police

trooper, Betlewicz was struck by an unidentified object and knocked

unconscious. (See Compl. ¶¶ 8, 15-16.) Betlewicz suffered critical injuries

and subsequently underwent “major cervical decompression surgery.” (Id.

¶¶ 8, 16-17.) Four days after the January 10 incident, Betlewicz was

suspended from his position with the State Police without pay after a hair


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          See 29 U.S.C. § 206(d).
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        The facts are drawn from Betlewicz’s Complaint and presented in
the light most favorable to him. (See Compl.)
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sample provided by him allegedly tested positive for “[c]annabis sativa.”

(Id. ¶¶ 9, 18.) On May 6, 2010, following a four-month unpaid suspension,

Betlewicz’s employment with the State Police was terminated. (See id. ¶

19.)

       At some point after Betlewicz’s unpaid suspension began, but prior to

his termination, the State Police Internal Affairs Bureau commenced an

investigation seeking to prove that, fearing an impending positive drug test,

Betlewicz fabricated the January 10, 2010 incident. (See id. ¶¶ 20, 22.)

On April 8, 2010, however, a New York State Worker’s Compensation

Board Administrative Law Judge found that Betlewicz’s injuries resulted

from a “genuine line of duty accident[,] and made awards.” (Id. ¶ 21.) That

decision was subsequently affirmed on October 4, 2010 by an appeals

panel. (See id. ¶ 22.)

       Despite the determinations of the ALJ and appeals panel, the State

Police continued to refuse Betlewicz pay and benefits until, on August 9,

2011, the New York State Comptroller granted Betlewicz an “Accidental

Disability Retirement Pension.” (See id. ¶¶ 23, 26.) On August 26, 2011,

Betlewicz’s employment status was changed by the State Police from

“[d]ismissed,” to “[d]isability [r]etirement.” (Id. ¶ 11.)

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                           III. Standard of Review

      “The standard for addressing a Rule 12(c) motion for judgment on

the pleadings is the same as that for a Rule 12(b)(6) motion to dismiss for

failure to state a claim.” Wright v. Monroe Cmty. Hosp., 493 F. App’x 233,

234 (2d Cir. 2012) (internal quotation marks and citation omitted). For a

full discussion of that standard, the court refers the parties to its prior

decision in Ellis v. Cohen & Slamowitz, LLP, 701 F. Supp. 2d 215, 218

(N.D.N.Y. 2010).

                                IV. Discussion

A.    Personal Involvement

      State defendants contend first that Betlewicz’s equal protection and

due process claims against Melville and D’Amico must be dismissed for

lack of personal involvement. (See Dkt. No. 28, Attach. 1 at 4-6.)

Betlewicz counters, and the court agrees, that he has alleged sufficient

personal involvement on behalf of Melville and D’Amico to defeat judgment

on the pleadings. (See Dkt. No. 35 at 2-3.)

      Damages in a section 1983 claim are only appropriate if the

defendant was personally involved in the alleged constitutional violation.

See Farrell v. Burke, 449 F.3d 470, 484 (2d Cir. 2006). Ordinarily, the

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plaintiff must demonstrate that there is a “tangible connection between the

alleged unlawful conduct and the defendant.” Balkum v. Sawyer, No.

6:06-cv-1467, 2011 WL 5041206, at *4 (N.D.N.Y. Oct. 21, 2011) (citing

Bass v. Jackson, 790 F.2d 260, 263 (2d Cir. 1986)). Where, as here,

defendants are supervisory officials, a link, under the doctrine of

respondeat superior, is inadequate to establish the requisite personal

involvement. Polk Cnty. v. Dodson, 454 U.S. 312, 325 (1981); Richardson

v. Goord, 347 F.3d 431, 435 (2d Cir. 2003). Thus, to prevail against a

supervisory defendant, the plaintiff must show that the supervisor:

      (1) directly participated in the violation, (2) failed to remedy the
      violation after being informed of it by report or appeal, (3) created
      a policy or custom under which the violation occurred, (4) was
      grossly negligent in supervising subordinates who committed the
      violation, or (5) was deliberately indifferent to the rights of others
      by failing to act on information that constitutional rights were being
      violated.

Iqbal v. Hasty, 490 F.3d 143, 152 (2d Cir. 2007) (citing Colon v. Coughlin,

58 F.3d 865, 873 (2d Cir. 1995)), rev’d on other grounds, Ashcroft v. Iqbal,

556 U.S. 662 (2009).

      Betlewicz alleges that, after learning of the results of the drug test, he

attempted to explain the positive result, but that Melville, who was the

Acting Superintendent of the New York State Police between January 2010

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and January 2011, “summarily rejected” his explanation, and subsequently

took action which resulted in Betlewicz’s termination. (Compl. ¶ 18; see id.

¶¶ 9, 13.) He also alleges that both Melville and D’Amico, who succeeded

Melville and remains the current Superintendent, “consistently, repeatedly

and beyond their authority . . . intentionally, maliciously and wrongfully

failed to take the necessary steps within their powers to provide [him] any

measure of due process[] by summarily ignoring all his” written demands

for benefits. (Compl. ¶¶ 13, 14, 35.) Betlewicz contends further that, by

ignoring multiple written requests, and “fail[ing] to take the necessary steps

within their powers to provide” him the benefits to which he insists he is

entitled, and which were purportedly granted to a similarly situated female

trooper, Melville and D’Amico personally violated his equal protection

rights. (Id. ¶ 38.)

      In light of these allegations, Betlewicz has adduced sufficient facts, at

this stage of the litigation, to satisfy the personal involvement requirement.

B.    Eleventh Amendment Immunity

      State defendants contend next that Betlewicz’s constitutional claims

against the State Police, and Melville and D’Amico in their official

capacities, are barred by the Eleventh Amendment. (See Dkt. No. 28,

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Attach. 1 at 6-7.) Betlewicz concedes that the Eleventh Amendment bars

his claims for damages against the State Police and the individual

defendants in their official capacities, but contends that his claims are

viable to the extent that they seek prospective declaratory and injunctive

relief.3 (See Dkt. No. 35 at 3-5.) While Betlewicz’s legal premise is

correct, his constitutional claims against the State Police, and Melville and

D’Amico in their official capacities, are nevertheless barred completely by

the Eleventh Amendment because none of the injunctive or declaratory

relief which he seeks is truly prospective in nature.

      “[A]bsent waiver or valid abrogation, federal courts may not entertain

a private person’s suit against a State,” or against “state agents and state

instrumentalities that are, effectively arms of the state.” Monreal v. New

York, No. 12-2829, 2013 WL 1789266, at *1 (2d Cir. Apr. 29, 2013)

(internal quotation marks and citations omitted). “[A] plaintiff may avoid

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        Although Betlewicz also argues that the Eleventh Amendment
does not bar his claim under the Equal Pay Act, (see Dkt. No. 35 at 4-5),
State defendants’ sovereign immunity argument was limited to Betlewicz’s
Equal Protection and Due Process Clause claims, (see Dkt. No. 28,
Attach. 1 at 6-7). In any event, Betlewicz is correct that his Equal Pay Act
claim is not barred by the Eleventh Amendment. See Anderson v. State
Univ. of N.Y., 107 F. Supp. 2d 158, 160-66 (N.D.N.Y. 2000) (holding that
the Equal Pay Act “validly abrogated” the “states’ Eleventh Amendment
immunity”).
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the Eleventh Amendment bar to suit and proceed against individual state

officers, as opposed to the state, in their official capacities, provided that

his complaint[:] (a) alleges an ongoing violation of federal law[;] and (b)

seeks relief properly characterized as prospective.” Clark v. DiNapoli, No.

12-464-cv, 2013 WL 363000, at *1 (2d Cir. Jan. 31, 2013) (internal

quotation marks and citation omitted). Excluded from this exception,

however, are suits “by private parties seeking to impose a liability which

must be paid from public funds in the state treasury,” including “retroactive

payments wrongfully withheld,” such as “front pay, back pay, and

reimbursement for lost benefits.” McLaughlin v. Pezzolla, No. 06-CV-0376,

2010 WL 56051, at *4 (N.D.N.Y. Jan. 4, 2010) (internal quotation marks

and citations omitted). Similarly, declaratory relief is barred by the

Eleventh Amendment “when it would serve to declare only past actions in

violation of federal law: retroactive declaratory relief cannot be properly

characterized as prospective.” Kent v. New York, No. 1:11-CV-1533, 2012

WL 6024998, at *7 (N.D.N.Y. Dec. 4, 2012) (internal quotation marks and

citation omitted).

      In his prayer for relief, Betlewicz seeks a declaratory judgment that

State defendants violated his equal protection and due process rights, as

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well as an award of “back pay, front pay, and accrued benefits.” (Compl. ¶

39(d).) Though equitable in nature, these requests are plainly barred by

the Eleventh Amendment. See Kent, 2012 WL 6024998, at *7;

McLaughlin, 2010 WL 56051, at *4. Betlewicz also seeks injunctive relief

against State defendants “requiring them to permanently terminate, and

cease and desist from continuing their criminal, internal or other

investigations of [him] with regard to the line of duty accident on January

10, 2010,” and requiring them to turn over a slew of documents and

records, as well as “a list of the names, ranks and addresses, home and

business, of every employee of the [d]efendant New York State Police,

who is or was involved in these investigations.” (Compl. ¶ 39(c).) While

this request is undoubtedly prospective, it is wholly unrelated to the

constitutional injuries for which Betlewicz seeks redress. (See, e.g.,

Compl. ¶¶ 34-38.)

      Accordingly, because Betlewicz does not seek applicable prospective

injunctive relief, his equal protection and due process claims are barred by

the Eleventh Amendment and dismissed except as against Melville and

D’Amico in their individual capacities.

C.    Equal Protection and Equal Pay Act

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     Betlewicz alleges that, in being denied wage and fringe benefits while

on disability leave, he was discriminated against based on gender, in

violation of both the Equal Protection Clause and the Equal Pay Act. (See

Compl. ¶¶ 29-33, 36-38.) State defendants argue that Betlewicz has failed

to plausibly state either claim. (See Dkt. No. 28, Attach. 1 at 7-10.) While

the court agrees with State defendants that Betlewicz’s equal protection

claim requires dismissal, it disagrees as to his Equal Pay Act claim, which

survives.

     1.      Equal Protection

     Claims alleging gender discrimination in violation of the Equal

Protection Clause are subject to the familiar McDonnell Douglas4 burden-

shifting framework. See Doe v. City of N.Y., 473 F. App’x 24, 27 (2d Cir.

2012). To establish a prima facie gender discrimination claim within that

framework, a plaintiff must establish that: “(1) he is a member of a

protected class; (2) he is competent to perform the job or is performing his

duties satisfactorily; (3) he suffered an adverse employment decision or

action; and (4) the decision or action occurred under circumstances giving

rise to an inference of discrimination based on his” gender. Dawson v.

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          See McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973).
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Bumble & Bumble, 398 F.3d 211, 216 (2d Cir. 2005); see Doe, 473 F.

App’x at 27. Where, as here, the plaintiff attempts to compare himself “to

others who allegedly received different treatment,” the comparator “must

be similarly situated [to the plaintiff] in all material respects.” Doe, 473 F.

App’x at 27 (internal quotation marks and citation omitted).

      Even assuming that Betlewicz has satisfied the first three prongs, his

Complaint is devoid of factual allegations which give rise to the inference

that he was denied leave salary and benefits because of his gender. In

attempting to show gender discrimination, Betlewicz points to the fact that

“at least one female trooper performing the same patrol and related duties

as [him] and now disability-retired . . . [was] granted the full pay provided

for by Regulation 5.12,” that other “similarly situated female troopers . . .

were also granted Regulation 5.12 disability pay,” and that “no female

troopers injured in the line of duty were refused such disability pay.”

(Compl. ¶ 24.) He admits, however, that, “[u]pon information and belief[,]

such disability pay is routinely granted to all sworn members of the state

police.” (Id. (emphasis added).) Betlewicz does not allege that any of the

comparators against whom he gages his treatment were, like him,

suspended or terminated at the time that they received the benefits in

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question. (See id.) As such, no comparators were similarly situated to him

in all material respects. See e.g., Doe, 473 F. App’x at 27. Because

Betlewicz provides no additional facts from which an inference of

discrimination can be drawn, State defendants’ motion is granted as to

Betlewicz’s equal protection claim, and that claim is dismissed.

      2.    Equal Pay Act

      The Equal Pay Act “prohibits employers from discriminating among

employees on the basis of sex by paying higher wages to employees of the

opposite sex for ‘equal work on jobs the performance of which requires

equal skill, effort, and responsibility, and which are performed under similar

working conditions.’” Belfi v. Prendergast, 191 F.3d 129, 135 (2d Cir.

1999) (quoting 29 U.S.C. § 206(d)(1)). For purposes of the Equal Pay Act,

the term “wages” encompasses “[f]ringe benefits, such as medical,

hospital, accident, life insurance, and retirement benefits, bonus plans and

leave.” Equal Emp’t Opportunity Comm’n v. Bell Atl. Corp., Nos. 96 Civ.

6723(DC), 98 Civ. 3427(DC), 1999 WL 386725, at *7 (S.D.N.Y. June 11,

1999) (citing 29 C.F.R. § 1620.11).

      Unlike the Equal Protection Clause, the Equal Pay Act does not

require a showing of discriminatory intent, but instead provides for a type of

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strict liability. Belfi, 191 F.3d at 136. To state a prima facie Equal Pay Act

claim, a plaintiff must establish that: “[(1)] the employer pays different

wages to employees of the opposite sex; [(2)] the employees perform

equal work on jobs requiring equal skill, effort, and responsibility; and [(3)]

the jobs are performed under similar working conditions.” Id. at 135

(internal quotation marks and citation omitted). Once a plaintiff makes a

prima facie showing, “the burden of persuasion shifts to the defendant to

show that the wage disparity is justified by one of [four] affirmative

defenses provided under the Act,” such as “a differential based on any

other factor other than sex.” Id. at 136 (internal quotation marks and

citations omitted). “[T]o successfully establish the ‘factor other than sex’

defense, an employer must also demonstrate that it had a legitimate

business reason for implementing the gender-neutral factor that brought

about the wage differential.” Id. If the employer offers such proof, the

plaintiff “may counter the employer’s affirmative defense by producing

evidence that the reasons the defendant seeks to advance are actually a

pretext for sex discrimination.” Id.

      State defendants argue that, because the female troopers to whom

Betlewicz compares himself did not test positive for drug use, he has failed

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to show that he was compensated less for equal work performed under

similar working conditions. (See Dkt. No. 28, Attach. 1 at 7-8.) Although

styled as an attack on Betlewicz’s prima facie showing, this argument is

more properly characterized as an attempt to establish the affirmative

defense that the disparity in benefits was justified by “a differential based

on any other factor other than sex.” 29 U.S.C. § 206(d)(1)(iv). In alleging

that he was denied salary and benefits which were provided to at least one

female trooper “performing the same patrol and related duties” as him,

Betlewicz has pled facts sufficient to meet the prima facie threshold.

(Compl. ¶ 24.)

      While State defendants may be able to establish that the disparity

about which Betlewicz complains resulted from a legitimate, non-gender-

based business reason, consideration of this argument is, in light of the

limited record before the court, premature at this juncture. See, e.g., Pani

v. Empire Blue Cross Blue Shield, 152 F.3d 67, 74 (2d Cir. 1998).

Accordingly, State defendants’ motion is denied as to Betlewicz’s Equal

Pay Act claim.

D.    Procedural Due Process

      Next, State defendants contend summarily, and without citation, that

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Betlewicz’s due process claim must be dismissed because he has failed to

establish a cognizable property interest or that he was deprived by the

them of such an interest without adequate due process. (See Dkt. No. 28,

Attach. 1 at 11.) Betlewicz argues that he has pled facts sufficient to state

a plausible due process claim. (See Dkt. No. 35 at 18-21.) The court

agrees with Betlewicz.

      In order to state a claim for deprivation of property without due

process of law, a plaintiff must: (1) identify a property right; (2) show a

deprivation of that right by the state; and (3) “show that the deprivation was

effected without due process.” Local 342, Long Island Pub. Serv. Emps.,

UMD, ILA, AFL-CIO v. Town Bd. of the Town of Huntington, 31 F.3d 1191,

1194 (2d Cir. 1994) (internal quotation marks and citation omitted).

Property interests are not created by the Constitution, but instead “are

created and their dimensions are defined by existing rules or

understandings that stem from an independent source such as state

law—rules or understandings that secure certain benefits and that support

claims of entitlement to those benefits.” Bd. of Regents of State Colls. v.

Roth, 408 U.S. 564, 577 (1972).

      Betlewicz alleges that he held a “protected property interest in the

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monies, benefits, perks and emoluments arising from his employment, as

such property rights are created by the N.Y.S. Executive Law and the rules

and regulations of the Defendant New York State Police,” specifically

Regulation 5.12. (Compl. ¶¶ 24, 35.) Deprivation of this interest occurred,

Betlewicz contends, when he was suspended without pay, and

subsequently terminated, for failing a drug test, and when he was denied

leave pay and benefits despite an administrative determination, and

affirmance, that his injury occurred in a genuine line-of-duty accident. (See

id. ¶¶ 18-23, 35.) Betlewicz alleges that, despite his multiple written

demands for such benefits, State defendants “have failed to afford [him]

any such due process in adjudication of his claims,” and have “summarily

ignor[ed] all his claims.” (Compl. ¶ 35.) At this juncture, Betlewicz has

adduced facts sufficient to state a plausible procedural Due Process

claim.5

E.    Qualified Immunity

      Finally, State defendants argue that Melville and D’Amico are entitled

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       Although the court acknowledges that it may, upon a Rule 12
motion, resolve the legal question of whether the plaintiff in fact enjoys the
property interest alleged, it declines to do so at this time. See, e.g.,
Pappas v. Town of Enfield, No. 3:08-cv-250, 2010 WL 466009, at *4 (D.
Conn. Feb. 3, 2010).
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to qualified immunity. (See Dkt. No. 28, Attach. 1 at 11-14.) Based on the

limited record before it, however, the court cannot now conclude that

Melville and D’Amico are entitled to such immunity. See Alfaro v. Labador,

300 F. App’x 85, 87 (2d Cir. 2008); see also Field Day, LLC v. Cnty. of

Suffolk, 463 F.3d 167, 191-92 (2d Cir. 2006) (“[A] qualified immunity

defense can be presented in a Rule 12[] motion, but . . . the defense faces

a formidable hurdle when advanced on such a motion and is usually not

successful.” (internal quotation marks and citation omitted)).

                               V. Conclusion

      In sum, Betlewicz’s equal protection claim is dismissed in its entirety,

while his Equal Pay Act claim survives, as does his due process claim to

the extent that it is brought against Melville and D’Amico in their individual

capacities.6

      WHEREFORE, for the foregoing reasons, it is hereby

      ORDERED that State defendants’ motion for judgment on the

pleadings (Dkt. No. 28) is GRANTED in part and DENIED in part as



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       State defendants’ request for a protective order barring discovery
pending the resolution of the instant motion is denied as moot. (See Dkt.
No. 28, Attach. 1 at 14.)
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follows:

           GRANTED as to Betlewicz’s equal protection claim, and as to

           his due process claim to the extent that it is brought against the

           State Police and Melville and D’Amico in their official

           capacities; and

           DENIED as to Betlewicz’s Equal Pay Act claim, and his due

           process claim to the extent that it is brought against Melville

           and D’Amico in their individual capacities; and it is further

      ORDERED that the parties notify Magistrate Judge Treece in order to

schedule further proceedings in accordance with this order; and it is further

      ORDERED that the Clerk provide a copy of this Memorandum-

Decision and Order to the parties.

IT IS SO ORDERED.

May 20, 2013
Albany, New York




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